560 F.2d 196
    77-2 USTC  P 9662
    Paris G. SINGER and Jane E. Singer, Petitioners-Appellants,v.COMMISSIONER OF INTERNAL REVENUE, Respondent-Appellee.Oscar S. GRAY and Eleanor L. Gray, Petitioners-Appellants,v.COMMISSIONER OF INTERNAL REVENUE, Respondent-Appellee.
    Nos. 75-4075 and 75-4074.
    United States Court of Appeals,Fifth Circuit.
    Sept. 28, 1977.
    
      K. Martin Worthy, Michael C. Durney, Washington, D. C., for petitioners-appellants.
      Scott P. Crampton, Asst. Atty. Gen., Jonathan S. Cohen, Joseph L. Liegl, Attys., Tax Div., Dept. of Justice, Gilbert T. Andrews, Acting Chief, Appellate Sect., U. S. Dept. of Justice, Meade Whitaker, Chief Counsel, Internal Revenue Service, Washington, D. C., for respondent-appellee.
      Appeals from the Decisions of the Tax Court of the United States (Florida Case).
      Before GOLDBERG and TJOFLAT, Circuit Judges, and WYATT*, District Judge.
      PER CURIAM:
    
    
      1
      These appeals are from the decisions of the United States Tax Court determining deficiencies in the 1969 income taxes of appellants Paris G. Singer and Jane E. Singer in the sum of $94,094.90 and of $70,912.50 for appellants Oscar S. Gray and Eleanor L. Gray.  The Grays' deficiency results from the disallowance of deductions claimed for the worthlessness of stock in Gold Coast Telecasting Co., Inc., and certain debts owed Oscar Gray by that corporation.  The Singers' deficiency arises from the disallowance of worthless stock and bad debt deductions that also relate to Gold Coast and from the disallowance of a portion of a claimed deduction for legal fees.  The only substantial issue presented is whether the lower court's findings were clearly erroneous.  We hold they were not, and relying upon the findings of fact and conclusions of law in Judge Raum's able opinion, we affirm.1
    
    
      2
      AFFIRMED.
    
    
      
        *
         Senior District Judge of the Southern District of New York, sitting by designation
      
      
        1
         The Tax Court's opinion may be found at 34 T.C.M.  (CCH) 337 (1975)
      
    
    